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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

41-45 PROPERTY OWNER, LLC,            Case No. 1:22-cv-08634 (LGS)

             Plaintiff and Counter-
             Defendant,

             -against-

CDM1, LLC,

             Defendant and Counter-
             Plaintiff




               CDM1’S REPLY MEMORANDUM OF LAW IN FURTHER
                 SUPPORT OF ITS PARTIAL MOTION TO DISMISS




                                         ARENTFOX SCHIFF LLP

                                         Frederick J. Sperling
                                         Adam Diederich
                                         ArentFox Schiff LLP
                                         233 South Wacker Drive
                                         Suite 7100
                                         Chicago, IL 60606
                                         frederick.sperling@afslaw.com
                                         adamdiederich@afslaw.com
                                         Admitted Pro Hac Vice

                                         Brittany H. Sokoloff
                                         ArentFox Schiff LLP
                                         1301 Avenue of the Americas
                                         42nd Floor
                                         New York, NY 10019
                                         brittany.sokoloff@afslaw.com

                                         Attorneys for Defendant and Counter-
                                         Plaintiff CDM1, LLC.
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                                PRELIMINARY STATEMENT

       41-45 Property Owner LLC (“Sponsor”) devotes most of its Memorandum in Opposition

to irrelevant arguments – arguing the merits of the case and telling the Court why its claim for

breach of the covenant of good faith and fair dealing can be asserted independent of Plaintiff’s

breach of contract claim. But those issues are not before the Court on CDM1’s Motion to Dismiss.

CDM1 heeded the Court’s statement that an argument to dismiss Sponsor’s second claim as

duplicative might present factual issues that could not be decided on a motion to dismiss. CDM1

therefore limited the Motion to the plain language of the liquidated damages clause. Sponsor

acknowledges this in a footnote and yet still argues the merits of its breach of contract claim and

the supposed independence of its implied covenant claim throughout the Opposition.

       The sole issue before the Court on the Motion is whether the liquidated damages clause in

the Option Agreement bars Sponsor from bringing a claim for breach of the covenant of good faith

and fair dealing. It does. Preserving this futile claim would open the parties to extensive discovery

on an issue that the parties resolved when they entered into the Option Agreement – the scope of

available damages. Sponsor’s second cause of action for breach of the covenant of good faith and

fair dealing has no place in this litigation and should be dismissed.

                                          ARGUMENT

       Sponsor asserts three bases to preserve its claim for breach of the covenant of good faith

and fair dealing: (1) that the liquidated damages provision does not preclude Sponsor’s claim, (2)

that the Motion is premature, and (3) that Sponsor’s claim for breach of the implied covenant of

good faith and fair dealing can be asserted independently of its claim for breach of contract. None

saves Sponsor’s claim from dismissal.
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       A.      The Liquidated Damages Clause Bars Sponsor From Seeking Damages For
               Costs Incurred Restoring PH-58.

       Sponsor does not dispute that a contract provision for liquidated damages controls the

rights of the parties in the event of breach if the contract specifically states that, going forward,

“each party shall be free and clear of all claims against the other.” Richter v. Novo Corp., 43

A.D.2d 1, 1 (1st Dep’t 1973); (Opp. at p. 8). The Option Agreement does exactly that (Compl.,

Ex. B, ECF No. 17-5, ¶ 13.2), which is enough for the Court to decide this Motion in CDM1’s

favor. Without the support of a single case, Sponsor asserts that it could prevail on its second

cause of action because the liquidated damages clause does not cover the costs Sponsor incurred

“to eliminate [CDM1’s] modifications and restore PH-58 to its original completed state.” (Opp.

at p. 10.) This argument contradicts both the plain language of the liquidated damages clause and

New York law.

       It is a fundamental principle of contract construction that “when parties set down their

agreement in a clear, complete document, their writing should as a rule be enforced according to

its terms.” Signature Realty, Inc. v. Tallman, 814 N.E.2d 429, 430 (N.Y. 2004). Paragraph 13.2

of the Option Agreement states that if the Option Agreement is cancelled, Sponsor “shall have the

right to retain, as and for liquidated damages, (a) the entire Premium Payment and any interest

earned on the Premium Payment and (b) Unit Upgrade Funds” and that “[u]pon cancellation . . .

Purchaser and Sponsor will be released and discharged of all further liability and obligations

hereunder and under the Plan.” (See Compl., ECF No. 17, ¶ 50; Compl., Ex. B ¶ 13.2.) Because

Sponsor cancelled the Option Agreement and elected to retain the Premium Payment as liquidated

damages, Sponsor cannot also recover additional damages under the implied covenant of good

faith and fair dealing. (Compl. ¶ 64; Compl., Ex. C, ECF No. 17-6.) The plain language of




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Paragraph 13.2 limits Sponsor’s potential recovery under the Option Agreement and the Plan to

liquidated damages.

       The liquidated damages clause controls here because Sponsor’s allegation that CDM1

breached the implied duty of good faith “is merely” an allegation of “a breach of the underlying

contract.” See Fasolino Foods Co. v. Banca Nazionale del Lavoro, 961 F.2d 1052, 1056 (2d Cir.

1992) (internal citation and quotation marks omitted). See also Network Enters., Inc. v. APBA

Offshore Prods., Inc., No. 01 CIV. 11765 (CSH), 2004 WL 1837349, at *4 (S.D.N.Y. Aug. 16,

2004) (“Because the duty to act in good faith under a contract is not a duty separable from the

contract, ‘breach of an implied covenant of good faith and fair dealing is intrinsically tied to the

damages allegedly resulting from a breach of the contract.’” (internal citation omitted).). In

alleging a breach of the covenant of good faith and fair dealing, Sponsor explicitly refers to

CDM1’s obligations arising out of the Option Agreement: “The Option Agreement included

implied promises on the part of Purchaser to not seek unreasonable enforcement of the undefined

and vague clause that it added to the agreement.” (Compl. ¶ 77.) Because the second cause of

action arises under the Option Agreement, it is barred by the liquidated damages clause:

“Purchaser and Sponsor will be released and discharged of all further liability and obligations

hereunder and under the Plan.” (See Compl. ¶ 50; Compl., Ex. B ¶ 13.2.).

       Sponsor’s contention that it is allowed to “retain a down payment” in the form of liquidated

damages “and seek compensation for actual damages” (Opp. at 9) also ignores the fact that “a valid

contractual provision for liquidated damages controls the rights of the parties in the event of a

breach, notwithstanding that the stipulated sum may be less than the actual damages allegedly

sustained by the injured party.” X.L.O. Concrete Corp. v. John T. Brady & Co., 104 A.D.2d 181,

184 (1st Dept. 1984), aff’d, 489 N.E.2d 768 (N.Y. 1985). In X.L.O., the First Department limited




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New York University’s potential damages to the liquidated damages provided for in the contract;

it did not permit N.Y.U. to recover the actual and consequential damages caused by the contractor’s

delayed performance. Id. at 183, 185. The risk that N.Y.U. faced of incurring higher delay

damages is much like the risk that Sponsor faced that it would need “to eliminate [CDM1’s]

modifications” (see Compl. ¶ 81) should the Option Agreement fall through. These damages were

contemplated by the parties and accounted for by the $8.5 million Premium Payment that Sponsor

seeks to retain under Paragraph 13.2 of the Option Agreement. See Jarro Bldg. Indus. Corp. v.

Schwartz, 54 Misc. 2d 13, 18 (App. Term 1967) (“The underlying purpose [of a liquidated damages

clause] is to permit parties to look to the future, anticipate that there may be a breach and make a

settlement in advance.”).

       Sponsor attempts to craft a loophole for its second claim by arguing that the money Sponsor

allegedly spent to complete PH-58 and “eliminate [CDM1’s] modifications” (see Compl. ¶ 81)

does not arise under either the Option Agreement or the Offering Plan. (See Opp. at p. 10.) To

the contrary, when Sponsor agreed to the liquidated damages clause, it knew it might have to

“incur[] additional costs . . . to eliminate Purchaser’s modifications and restore PH-58 to its original

completed state to render the unit marketable to future purchasers.” (See Compl. ¶ 81). Pursuant

to the Rider and Additional Rider to the Option Agreement, Sponsor was aware that it was selling

PH-58 to CDM1 “without using building standard finishes.” (Id. at Rider ¶ 1.4 and Additional

Rider ¶ 1.4.) Therefore, if CDM1 failed to close on PH-58 (it did not), Sponsor would be left with

the unit in an unfinished state and would have had to bear the cost to finish the unit. (See Compl.

Ex. B ¶¶ 17.2, 17.4, 17.5.) Because the Option Agreement contemplated these costs, they are

subsumed within the liquidated damages clause.




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       B.      CDM1’s Motion To Dismiss Is Not Premature.

       Sponsor next contends that the Motion is premature at this stage of the litigation because

there is a factual dispute regarding Sponsor’s entitlement to liquidated damages under Sponsor’s

first cause of action. While CDM1 and Sponsor disagree on who is entitled to the Premium

Payment, that dispute does not make the Motion premature. Sponsor cannot prevail on its second

cause of action regardless of whether it prevails on its first cause of action. If Sponsor prevails on

its first cause of action for breach of contract and recovers liquidated damages, it cannot also

prevail on its second cause of action for actual damages. And if Sponsor’s first cause of action

fails, the Court will necessarily have ruled that Sponsor breached by improperly terminating the

Option Agreement, which means that Sponsor caused the damages it seeks in its second cause of

action. Unsurprisingly, CDM1 cannot point to a single case where a party was found liable for

breaching a contract and also was awarded damages that arose directly from its own breach.

       Contrary to Sponsor’s position, the Motion is timely because it presents an issue that can

be decided on the law and that will extensively shape discovery in this litigation. If the Court

grants the Motion and dismisses Sponsor’s implied covenant claim, the parties will not need to

engage in discovery on issues including (1) the Unit Modifications that CDM1 requested in the

Riders to the Option Agreement, (2) when construction was fully completed on 520 Park Avenue,

(3) the credit CDM1 was to receive at the Closing per the Rider and Additional Rider to the Option

Agreement (Compl. Ex. B at Rider ¶ 1.2 and Additional Rider ¶ 1.2), and (4) the cost for Sponsor

to “to eliminate [CDM1’s] modifications” (see Compl. ¶ 81; Compl. Ex. B). This will limit the

scope of document production and scope of depositions. Therefore, the Motion is not only timely,

but also well-timed.




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       C.      It Is Irrelevant Whether Sponsor’s Claim For Breach Of The Implied
               Covenant Is Independent of Sponsor’s Breach Of Contract Claim.

       Sponsor’s final argument is confusing and irrelevant. It argues that its claim for breach of

the covenant of good faith and fair dealing “can stand on its own” if its first cause of action fails

because CDMI “should still be liable for its alleged bad faith scheme.” (Opp. at 11-12.) As

explained above, Sponsor’s second cause of action cannot “stand on its own” because it is barred

by the liquidated damages clause. Sponsor cites three cases for the proposition that a plaintiff may

bring a claim for breach of the implied covenant of good faith and fair dealing where the defendant

is alleged to have “exercised its rights under its contract in bad faith in order to realize gains that

the contract implicitly denied or to deprive the other party of the fruit of its bargain.” See Anexia,

Inc. v. Horizon Data Sols. Ctr., LLC, 74 Misc. 3d 1233(A), 165 N.Y.S.3d 831, at *3 (N.Y. Sup.

Ct. 2022); Dalton v. Educ. Testing Servs., 663 N.E.2d 289, 293 (N.Y. 1995); Richbell Info. Servs.,

Inc. v. Jupiter Partners, L.P., 765 N.Y.S.2d 575, 587 (App. Div. 1st Dep’t 2003). These cases are

irrelevant because they do not involve a liquidated damages clause that forecloses any claim arising

out of the contract, which would include claims for breach of the covenant of good faith and fair

dealing, as the Option Agreement does here. Plaintiff’s second cause of action seeks damages

arising out of modifications made to PH-58 pursuant to riders to the Option Agreement. Because

those damages are based on the Option Agreement, they are foreclosed by the liquidated damages

clause in the Option Agreement.

                                          CONCLUSION

       For the foregoing reasons this Court should dismiss the second cause of action in

Complaint against CDM1 with prejudice.




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Dated: New York, New York             ARENTFOX SCHIFF LLP
       February 17, 2023


                                      By:
                                            Brittany H. Sokoloff
                                            ArentFox Schiff LLP
                                            1301 Avenue of the Americas
                                            42nd Floor
                                            New York, NY 10019
                                            brittany.sokoloff@afslaw.com
                                            Telephone: 212.484.3900
                                            Facsimile: 212.484.3990

                                            Frederick J. Sperling
                                            Adam Diederich
                                            ArentFox Schiff LLP
                                            233 South Wacker Drive
                                            Suite 7100
                                            Chicago, IL 60606
                                            frederick.sperling@afslaw.com
                                            adam.diederich@afslaw.com
                                            Admitted Pro Hac Vice

                                      Attorneys for Defendant and Counter-Plaintiff
                                      CDM1, LLC




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